                                UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF TENNESSEE
                                        AT KNOXVILLE

  UNITED STATES OF AMERICA,                            )
                                                       )
                  Plaintiff,                           )                 No. 3:22-CR-46
                                                       )
                                                                         JUDGE JORDAN
          v.                                           )
                                                       )
  A VERY DUAN WESTFIELD,                               )-
                                                       )
                  Defendant.                           )

                              JOINT MOTION FOR ENTRY OF
                        AGREED PRELIMINARY ORDER OF FORFEITURE

          The United States of America, by and through Alan S. Kirk, Assistant United States Attorney for

  the Eastern District of Tennessee, and Benjamin Gerald Sharp, counsel for the Defendant, move for entry

  of the attached Agreed Preliminary Order of Forfeiture pursuant to Federal Rule of Criminal Procedure

  32.2(b) and in compliance with ECF Rule 4.8.

                                                            Respectfully submitted,

                                                            FRANCIS M. HAMILTON III
                                                            U~1 ed States Attorney

                                                 By:        a~~
                                                   ~        ALAN S. KIRK
                                                            Assistant United States Attorney
                                                            AL Bar No.: 5539N45K
                                                            800 Market Street, Suite 211
                                                            Knoxville, Tennessee 37902
                                                            alan.kirk@usdoj.gov
                                                            (865) 545-4167




                                                            Attorney for Defendant
                                                            VBS No. 47398
                                                            800 South Gay Street Suite 2400
                                                            Knoxville, TN 37929-9714
                                                            Ben Sharp@fd.org
                                                            (865) 637-7979




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